 Case 2:21-cv-03742-CAS-MAR Document 27 Filed 05/20/22 Page 1 of 2 Page ID #:107

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL                                    JS-6
 Case No.          CV21-3742-CAS(MARx)                                            Date   May 20, 2022
 Title             NASSER v. COUNTY OF LOS ANGELES; ET AL.



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
                Catherine Jeang                             Not Present                          N/A
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                            Not Present
 Proceedings:                 (IN CHAMBERS) - JOINT NOTICE OF SETTLEMENT (Filed
                              05/20/22)[26]

      THE COURT, having been notified by counsel that the above-entitled action has
been settled on or about May 20, 2022;

       IT IS HEREBY ORDERED that this action is hereby removed from this Court’s
active caseload until further application by the parties or order of this Court.

      IT IS FURTHER ORDERED that counsel shall file a proper stipulation for
dismissal or a joint report detailing settlement status within 90 days and every quarter
thereafter until a stipulation for dismissal is filed.

      This Court retains full jurisdiction over this action and this Order shall not
prejudice any party to this action. All dates in this action are hereby VACATED.

         IT IS SO ORDERED.




CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 2
 Case 2:21-cv-03742-CAS-MAR Document 27 Filed 05/20/22 Page 2 of 2 Page ID #:108

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES - GENERAL                                   JS-6
 Case No.       CV21-3742-CAS(MARx)                                     Date   May 20, 2022
 Title          NASSER v. COUNTY OF LOS ANGELES; ET AL.


                                                                               00     :       00
                                                      Initials of Preparer          CMJ




CV-90 (06/04)                         CIVIL MINUTES - GENERAL                                 Page 2 of 2
